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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Oliver W. Wanger
Senior United States District Judge
Fresno, California

                                         RE:    Harbans Kaur Hothi-Baryana
                                                Docket Number: 1:04CR05291-01 OWW
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


The supervisee is requesting permission to travel to Taggar Badala, Punjab, India. She
is current with all supervision obligations, and the probation officer recommends approval
be granted.


Conviction and Sentencing Date: On May 23, 2006, the supervisee was sentenced for
the offense(s) of Conspiracy to Commit an Offense Against the United States.


Sentence imposed: The supervisee was committed to the Bureau of Prisons for a term
of 1 month, followed by a 36 month term of supervised release. She was ordered to pay
a $10,000 fine and a $100 special assessment. In addition to the standard conditions of
supervision, the following special conditions were imposed: 1) Search; 2) No dissipation
of assets; 3) Provide access to financial information upon request; 4) No new credit
charges or additional lines of credit; 5) Cooperation with Homeland Security and INS; 6)
Submit DNA collection; and 7) 3 months electronic monitoring or home confinement.


Dates and Mode of Travel: The supervisee has purchase her flight tickets via Asiana
Airlines and requests permission to travel from July 11, 2008 through August 22, 2008.


Purpose: The supervisee and her husband, Paramjit Taggar (codefendant in this case),
plan to attend a family wedding at relatives residence located in Kandhali Naurang Pur
District in Hoshiarpur, India. In addition, she plans to visit their home in Hoshiarpur and
begin moving storage from the home and begin cleaning both interior and exterior of the

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home. According to the supervisee, she and her husband have not been in their home for
about 10 years. The supervisee's husband has been diagnosed with blockage in his
arteries (about 65%) which has led to costly medical treatment. Yet, he is still suffering
from chest pains and anxiety. Although her husband has sought treatment locally as well
as other parts in California, she indicated that further treatment would continue to be costly.
In India, the cost of medical treatment including medications would be at a lower cost. The
supervisee and her husband will also seek dental and optical treatments.

It should be noted that the undersigned officer has submitted a recommendation for early
termination in the instant case. The reason why this request is being submitted at this
time is because the supervisee and her husband prematurely purchased the flight tickets
(at discount price at the time of purchase), before the early termination requests were
approved by the Court. The early termination requests will not be in effect prior to their
date of departure.


Justification: The supervisee has complied with all reporting requirements and has paid
all financial obligations in full. She has maintained residency in the Fresno area and has
purchased, along with her husband, a motel in Perryton, Texas. No new criminal arrest
or convictions are noted and the undersigned officer has no objections with the requested
travel.
                                    Respectfully Submitted,

                                      /s/ Jose T. Pulido

                                     Jose T. Pulido
                             United States Probation Officer

DATED:        June 23, 2008
              Fresno, California
              jtp



REVIEWED BY:         Hubert J. Alvarez for
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer

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ORDER OF THE COURT:




Approved       X                         Disapproved


IT IS SO ORDERED.

Dated: June 24, 2008                   /s/ Oliver W. Wanger
emm0d6                            UNITED STATES DISTRICT JUDGE




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